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EXHIBIT D

CONTENT:

PLEA AGREEMENT/TRANSCRIPT (May 15, 1996)
U.S. v. George Zappola and George Conte

Criminal Case No. CR-95-31 (FB) out of

the United States District Court for the

Eastern District of New York, Brooklyn Division
Before the Honorable FREDERIC BLOCK

United States District Court Judge
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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~ CR-95-31
UNITED STATES OF AMERICA : (FB)
-against- United States Courthouse

Brooklyn, New York

GEORGE ZAPPOLA, ©
and GEORGE CONTE, : May 15, 1996
5:15 p.m.

Defendant. :

TRANSCRIPT OF PROCEEDINGS
BEFORE THE HONORABLE FREDERIC BLOCK
UNITED STATES DISTRICT JUDGE

APPEARANCES:
For the Plaintiff: ZACHARY W. CARTER
United States Attorney
BY: JAIME ORENSTEIN
_ STEPHEN KELLY
Assistant United States
Attorneys
225 Cadman Plaza East
Brooklyn, New York 11201
For Defendant Zappola: JAMES LA ROSSA, ESQ.
ANDREW WEINSTEIN, ESQ.
For Defendant conte: ~ KEITH WATANABE, ESQ.
RAFAEL ABROMOWITZ, ESQ.
Court Reporter: Diana Pereira

Certified Realtime Reporter

225 Cadman Plaza East - Room 377
Brooklyn, New York

(718) 330-1781

D.Pereira, OCR

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and May 13, 1989, 1 conspired and agreed with others to

murder Mike Pappadio in violation of New York Penal Law

In furtherance of the conspiracy, I shot Michael
Pappadio on or about May 13, 1989.

THE COURT: I will take them individually.

Based on the information given to me by mr. Zappola,
I find that he is acting voluntarily, he fully understands
his rights and the consequences of his plea of guilty to
Count One of the indictment and there is indeed a factual
basis for that plea. I will, therefore, accept a plea of
guilty to Count one of the indictment.

MR. LA ROSSA: Your Honor, we would Tike him to
allocute to the other racketeering acts. I am afraid we have
no choice, sir. There are double jeopardy factors here,
There are other jurisdictions.

THE COURT: I didn't mean to be precipitous.
Legally, if he allocuted to one it is sufficient.

MR. LA ROSSA: I think you are right but we have a
problem with it.

THE COURT: Mr. Orenstein.

MR. ORENSTEIN: Judge, he allocuted to one
racketeering act.

THE COURT: Wwe need two.

MR. ORENSTEIN: You need at least two to forma

pattern,

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THE COURT: You are right. You want to allocute to

all of them?

MR. WATANABE: Yes, Judge.
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MR. LA ROSSA: Afraid so, sir.

your Honor, could I read them? There is no reason
why I can't.

MR. ORENSTEIN: As long as he affirms the truth.

MR. LA ROSSA: I can.

THE COURT: Listen carefully, Mr. Zappola, because I
am going to ask you whether you understand and whether you
agree.

MR. LA ROSSA: Murder of Michael Pappadio.

"On or about May 13, 1989, I knowingly, willfully
and intentionally murdered and aided and abetted the murder
of Michael Pappadio in violation of the New York Penal Law.

Racketeering Act Number Two, conspiracy. to murder

‘Julius Calder.

"From in or about and between approximately 1988 and
June 2nd, 1989, I conspired and agreed with others to murder
Julius Calder, in violation of the New York Penal Law.

"In furtherance of the conspiracy I attempted to

murder Julius Calder at a diner in Brooklyn in early 1989,"

Racketeering Act Three: Conspiracy to Murder - The

New Jersey Faction:

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"From in or about and between approximately 1989 and
1991, I conspired with others to murder Anthony Accetturo,
Sr., Anthony Accetturo, Jr., Thomas Ricciardi, Joseph
LaMorte, and others whom the government has referred to
collectively as The New Jersey Faction, in violation of New

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York Penal Law.

"In furtherance of the conspiracy I traveled to

Florida in 1988 and 1989 to assist in efforts to locate these

people,"

Racketeering Act Number Four: Conspiracy to Murder

Peter Chiodo

"From in or about and between 1990 and the spring of
1991, I conspired and agreed with others to murder Peter |
Chiodo, in violation of New York Penal Law.

"In furtherance of the conspiracy, I assisted others

in attempting to locate Peter Chiodo for the purpose of

killing him."

Racketeering Act Number Seven. we are skipping Five

and Six.

MR. ORENSTEIN: He is not charged with Five and six.
MR. LA ROSSA: Number Seven: Conspiracy to murder

James Bishop.
"From in or about and between approximately April

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1990 and May 17, 1990, x conspired and agreed with others to
murder James Bishop, in violation of the New York Penal Law.
"In furtherance of.the conspiracy I shot James
Bishop on or about May 17, 1990."
Murder of James Bishop: "On or about May 17, 1990, 1
knowingly, willfully and intentionally murdered and aided and
abetted the murder of James Bishop, in violation of the New

York Penal Law."
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Racketeering Act Eight: Conspiracy to murder Frank
Mariconda

"From in or about and between approximately
December '91 and February 9th, 1992, I conspired and agreed
with others to murder Frank Mariconda in violation of the New
York Penal Law.

"In furtherance of the conspiracy I met with others
to plan the murder of Frank Mariconda

"On or about February 9, 1992, x knowingly,
willfully and intentionally murdered and aided and abetted
the murder of Frank Mariconda, in violation of New York Penal
Law.”

Racketeering Act Nine - conspiracy to murder Richard
Taglianetti:

"From in or about and between approximately 1983 and

July 23rd, 1992, r conspired with others to murder Richard

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Taglianetti, in violation of the New York Penal Law.

"In furtherance of the conspiracy, I conducted
surveillance in Staten Island during the Spring and summer of
1992, for the purpose of locating and murdering Richard
Taglianetti.”

Murder of Richard Taglianetti:

"On or about July 23, 1992, I knowingly, willfully
and intentionally murdered and aided and abetted the murder

of Richard Taglianetti, in violation of the New York Penal

Law,

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Racketeering Act Ten - Conspiracy to murder Richard

Guiga.
"From in or about and between approximately 1990 and
1993 I conspired and agreed with others to murder Richard
Guiga, in violation of the New York Penal Law
"In furtherance of the conspiracy I conducted
surveillance in or about February 1992, in Manhattan, for the

purpose of locating and murdering Richard Guiga,"

THE COURT: Thank you, mr. LaRossa.

Now, Mr. Zappola, there's an awful lot that was read
by Mr. LaRossa. I want to make sure that you understand
everything that was read, that these are your words, that you

adopt them, that you agree with everything that was read and

- this does represent your confession and your admission in

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respect to Count One..
, Is there any question about that whatsoever?

DEFENDANT ZAPPOLA: No.

THE COURT: Now, I will at this time specifically
rule in respect to each of these pleas as we go along that
there is a factual basis for the plea. As I said before, I
think a1] you need are two racketeering acts, but for reasons
that are good and sufficient reasons known to defense
counsel, and perhaps to the government as well, all of those
were allocuted to.

MR. LA ROSSA: So the record is perfectly clear,
there is no issue about the fact that mr. Zappola is openly

affirming the violation of the law of this count. He is not
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agreeing, though, to all of the background of this count that
has nothing to do in effect with the crime‘ itself, His
allocution is his admission of the crime.

THE COURT: I am not so sure I know exactly what
that means.

MR. LA ROSSA: There are some things in there. The
background of the count refers to people --

THE COURT: I am only talking about what he

allocuted to.
MR. LA ROSSA: That's my point.
THE COURT: Are you Suggesting that I have heard

more than I need in order to accept the plea of guilty to

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Count One?
MR. LA ROSSA: That wasn't in response to what you

said. This is kind of “making the record clear" that he's
not accepting all of the background information.

THE COURT: He's not accepting everything that's set
forth in the indictment?

MR. LA ROSSA: -- in the indictment other than his
allocution.

MR. ORENSTEIN: Judge, we agree that the allocution
is sufficient. We, of course, stand ready to prove, if
necessary, everything that is in the indictment.

THE COURT: Based on all this information I find
that the defendant is acting voluntarily, fully understands
his rights, the consequences of his plea and that there is
indeed a factual basis for the plea of guilty.to count one of

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the indictment. tf will therefore accept the plea of guilty

to that count.

Let's move on to Count two.

Count Two refers to a period of time between January
1978 to the present date. It charges the defendant with
racketeering conspiracy and Specifically that he, together
with others, conspired to conduct and participate, directly
and indirectly, in the conduct of the affairs of the
particular enterprise set forth in this indictment through a

pattern of racketeering activity by agreeing to commit and

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actually committing the acts of racketeering with which each
such defendant is charged in count one.

In terms of the conspiracy allocution, mr. LaRossa,
what do you Propose? Is he able to allocute on his own or
does he need any assistance? .

MR. LA ROSSA: Yes, your Honor. it might go
faster.

THE COURT: why don't you do that.

Is it acceptable?

MR. ORENSTEIN: As long as whatever mr. LaRossa
States is adopted by mr. Zappola.

THE COURT: TI will ask him Specifically after each
of those allocutions.

MR. LA ROSSA: Count Two.

"From in or about and between the early 1990s and
January 1996, in the Eastern and Southern Districts of New
York and elsewhere, I, being employed by and associated with

an association in fact enterprise consisting of myself and
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12 MR. LA ROSSA: "From jn or about and between 1978

13 and January 1996, in the Eastern and Southern Districts of

14 New York and elsewhere, 1 conspired and agreed with others to
15 defraud the united States by impeding, impairing, obstructing
16 = =and defeating the lawful functions of the Treasury Department
17s the ascertainment, computation and collection of income taxes
18 due and owing for myself and Others,

19 "In furtherance of the conspiracy, I filed a false
20 = and misleading federal ‘income tax return on Or about july

21 25th, 1990, for the year 1989.

22 THE COURT: For the sake of having a brief Pause,

23 let me rule that in respect to each of these counts in the

24 indictment to which the defendant has pled guilty -- and I

25 take it you also adopt what Mr. LaRossa has just stated in

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respect to Count Twenty-one, mr. Zappola, as well?
DEFENDANT ZAPPOLA: Yes,
THE COURT: With respect to each of these that 1

have not attended to before,, which would be Counts Four,

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5 Five, Six, Seven, Twelve, Thirteen, Fourteen, Fifteen,

6 Sixteen, Nineteen, Twenty, Twenty-one, I find that the

7 defendant iS acting voluntarily with respect to each of

8 these, fully understands his rights and consequences of his
9 plea of guilty to each of those counts in the indictment, and
10 that there is indeed a factual basis for the plea of guilty
11 to each of those counts. I, therefore accept the pleas of
12. guilty to those counts, and at this time we will move to the
13 counts set forth in the information.

14 with respect to that, Count one charges the
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defendant with the murder of Anthony DiLapi on or about
February 4, 1990.
Mr. LaRossa.

MR. LA ROSSA: "On or about February 4, 1990, in the
Eastern and Southern Districts of New York, the Central
District of California and elsewhere, and for the Purpose of
maintaining and increasing my position in an association in
fact enterprise consisting of myself and others, which
enterprise was engaged in racketeering activity, I knowingly,
willfully, deliberately and with premeditation and with

malice aforethought murdered and aided and abetted the murder

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of Anthony DiLapi in violation of Section 187 (a) and other
related sections of the california Penal Code and the New
York Penal Law.

THE COURT: Mr. Zappola, relief is in sight but x
ask you once again, just as important now as the first time I
asked you these questions: Do you agree with everything that
Mr. LaRossa just stated? po you adopt that as the truth?
Does this represent your testimony in respect to, so to
speak, your allocution and that you adopt this as your words?

DEFENDANT ZAPPOLA: Yes.

THE COURT: All right. count Two, murder of Victor
Filocomo. .

MR. LA ROSSA: No.

THE COURT: Strike that. Let's move on to count --

MR. WEINSTEIN: I think you are looking at the
information for Mr. Conte.

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Count One is the same in both informations.

THE COURT: Count Two, murder of John "otto" Heidel,
on or about October 13, 1987.

MR. LA ROSSA: "On or about October 13, 1987, in the
Eastern and Southern Districts of New York and elsewhere, and
for the purpose of maintaining and increasing my Position in
an association in fact enterprise, consisting of myself and
others, which enterprise was engaged in racketeering

activity, I murdered and aided and abetted the murder of John

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"Otto" Heidel, in violation of the new York Penal Law.

THE COURT: DO you agree and do you adopt that as
your statement, Mr. Zappola?

DEFENDANT ZAPPOLA: Yes, I do.

THE COURT: Count Three, conspiracy to murder Robert
Scarpaci in or about the early 1908s.

MR. LA ROSSA: "In or about approximately the early
1980s, in the Eastern and Southern Districts of New York and
elsewhere, and for the purpose of maintaining and increasing
my position in an association in fact enterprise consisting
of myself and others, which enterprise was engaged in

racketeering activity, I conspired and agreed with others to

murder Robert Scarpaci, in violation of the New York Penal

Law. .
THE CourT: DO you agree that this is correctly
Stated, Mr. Zappola?
DEFENDANT ZAPPOLA: Yes.
THE COURT: Count Four, conspiracy to murder Burt

Kaplan in or about 1993.
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MR. LA ROSSA: "In or about approximately 1993, in
the Eastern and Southern Districts of New York and elsewhere,
and for the purpose of maintaining and increasing my position
in an association in fact enterprise consisting of myself and
others, which enterprise was engaged in racketeering .

activity, I conspired and agreed with others to murder Burt

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Kaplan, in violation of the New York Penal Law."

THE COURT: Mr. Zappola, do you agree with that?

MR. ZAPPOLA: Yes, I do.

THE COURT: Do you adopt that as your statement?

DEFENDANT ZAPPOLA: Yes, I do.

THE COURT: Count Five, conspiracy to murder peter
Chiodo's relatives in or about and between july 1, 1991, and

March 1992,
MR. LA ROSSA: "From in or about and between

approximately July 1991 and March 1992, in the Eastern and
Southern Districts of New York and elsewhere, and for the
purpose of maintaining and increasing my position in an
association in fact enterprise consisting of myself and
others, which enterprise was engaged in racketeering
activity, I conspired and agreed with others to murder
relatives of Peter Chiodo, specifically Thomas Signorino and

Patricia Cappazola, in violation of the New york Penal Law."

THE COURT:- Mr. Zappola, do you agree with that?
MR. ZAPPOLA: Yes, I do.

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THE COURT: All right.

Last, Count Six, conspiracy to murder Nicholas Guido

and Bob Bering in or about and between October 1986 and

January 1993,

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MR. LA ROSSA: From in or about and between
approximately October '86 and January '93, in the Eastern and
Southern Districts of New York and elsewhere, and for the
purpose of maintaining and increasing my position in an
association in fact enterprise consisting of myself and ~
others, which enterprise was engaged in racketeering
activity, I conspired and agreed with others to murder
Nicholas Guido and Bob Bering, in violation of the New York

Penal Law."

THE COURT: Do you agree that that iS an accurate
reading and that those represent your involvement in those
matters, Mr. Zappola?

DEFENDANT ZAPPOLA: Yes, I do.

THE COURT: All right.

Based upon all this information given to me, I find
in respect to the six counts in the information that the
defendant is acting voluntarily with respect to each; that he
fully understands his rights, the consequences of his pleas
of guilty, and that there are indeed factual bases for the
pleas of guilty with respect to Counts One through Six of the
information. I will therefore accept the pleas of guilty to
Count One, Two, Three, Four, Five and Six of the information.

MR. LA ROSSA: Not to be redundant. sr. Zappola
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THE COURT: Do you adopt that as if you were

. speaking the words yourself?

DEFENDANT CONTE: Yes, sir.

THE COURT: No question about that, is there?
DEFENDANT CONTE: No question.

THE COURT: Continue.

MR. WATANABE: Racketeering Act Four.

“From in or about and between 1990 and in the spring

of 1991, I conspired with and agreed with other Persons to

murder Peter Chiodo, in violation of New York Penal Law.
"In furtherance of the conspiracy, I assisted others
in attempting to locate peter Chiodo for the purpose of

killing him.”
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THE COURT: Once again, I want you to tell me
whether all of this was related to the affairs of the
enterprise.

MR. WATANABE: It was, Judge.

THE COURT: Go through the rest, and then r will ask
whether he adopts all of this.

MR. WATANABE: Okay.

Racketeering Act Seven, Conspiracy to Murder James

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Bishop. .
"From in or about and between approximately April
1990 and May 17, 1990, 1 conspired and agreed with others to
murder James Bishop, in violation of New York Penal Law.
"In furtherance of the conspiracy I shot" -- Mr,

Conte shot Mr. James Bishop on or about May 17, 1990, and
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16 that such crime was committed in violation of New York Penal
17 Law and in fact that was done in furtherance of the
18 association in fact enterprise.
19 THE COURT: Do you agree with that and do you agree
20 with the prior statements in respect to the racketeering acts
21 that your counsel has set forth?
22 DEFENDANT CONTE: Yes, your Honor,
23 THE COURT: Do you have any question at al] that you
24 = want to speak to your attorney about in.respect to that?

25 DEFENDANT CONTE: No, your Honor, |

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THE COURT: -Do you have any more, Mr. Watanabe?

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2 MR. WATANABE: Yes, I do, Judge.

3 Racketeering Act Nine, conspiracy to murder and the
4 murder of Richard Taglianetti.

5 "From in or about 1983 and July 23, 1992, mr. Conte
6 conspired with other persons to murder Richard Taglianetti,
7 in violation of New York Penal Law.

8 "In furtherance of the conspiracy, I conducted
9 surveillance of mr. Taglianetti for the Purpose of his

10 = murder."

11 THE COURT: Once again --

12 MR. WATANABE: And that in or about July 1992,

13° Mr. Taglianetti was in fact murdered by being shot to death
14 by George Conte and this was all in furtherance of the

15. association in fact enterprise,

16 MR. ORENSTEIN: Judge, may I have a moment to confer
17 with counsel?

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7 DEFENDANT CONTE: Yes, I do.
8 THE COURT: Last part of the indictment, Count
9 Twenty-one, Conspiracy to Defraud the united States.
10 MR. WATANABE: From in Or about and between 1978 and
11 the date of this superseding indictment, in the Eastern and
12 Southern Districts of New York and elsewhere, mr, conte
13 conspired and agreed with others to defraud the United States
14 by impeding, impairing, obstructing and defeating the lawful
- 15 functions of the Treasury Department in the ascertainment,
16 computation, and collection of ificome taxes due and Owing
17 from himself and others, and in furtherance of that
18 conspiracy, mr. Conte failed to file tax returns in the years
19 1989, 1990, and 1991,
20 THE COURT: Do you agree that that actually did
21 happen? po you agree with everything that was just’ Spread on

22 the record by your attorney?

23 DEFENDANT CONTE: Yes, I understand,
24 THE COURT: And you adopt that as your acts?
25 DEFENDANT CONTE: Yes, your Honor.

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THE CourT: Let's move to the information.

Count One, murder of Anthony DiLapi on or about
February 4, 1990,

MR. WATANABE: Count One of the information, Murder
of Anthony DiLapi.

On or about February 4, 1990, in the Eastern

District of New York and elsewhere, including the Central

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District of California and elsewhere, and for the purpose of

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maintaining and increasing his position in an association in

fact enterprise consisting of himself and others, which
enterprise Was engaged in racketeering activity, Mr. conte
did knowingly, willfully, deliberately and with premeditation
and malice aforethought murdered and aided and abetted the
murder of Anthony DiLapi, in violation of Section 187 and
other related sections of the California Penal Code and New

York Penal Law.
THE COURT: Do you agree that you did that, mr.

conte?

DEFENDANT CONTE: Yes, I do, your Honor.

THE COURT: Count Two, murder of Victor Filocomo on
or about October 18, 1988.

MR. WATANABE: On or about October 18, 1988, in the
Eastern and Southern Districts of New York and elsewhere, and
for the purpose of maintaining and inicreasing his position in

an association in fact enterprise consisting of himself and

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others, which enterprise was engaged in racketeering
activity, Mr. Conte murdered and aided and abetted the murder
of Victor Filocomo, in violation of New York Penal Law.

THE COURT: Do you agree that you did that, mr.
conte?

DEFENDANT CONTE: Yes, I do, your Honor.

THE COURT: Count Three, murder of Nicholas rzzo on
or about October 27th, 1983.

MR. WATANABE: Count three, murder of Nicholas Izzo.

On or about October 27, 1983, in the Eastern and

Southern District of New York and elsewhere, and for the
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